              IN THE UNITED STATES DISTRICT COURT FOR THE
                      WESTERN DISTRICT OF MISSOURI
                           WESTERN DIVISION

United States of America,                            )
                                                     )
                              Plaintiff,             )
                                                     )
       v.                                            )       Criminal Action Number
                                                     )       12-00283-15/16-CR-W-BCW
Husam Elmasri,                                       )
Jeffrey Hines,                                       )
                                                     )
                              Defendants.            )

                          REPORT AND RECOMMENDATION

       Pending before the Court is the MOTION TO DISMISS COUNT II OF THE INDICTMENT FOR

DEFECTIVE STATEMENT OF CONSPIRACY (Doc. 187) filed on June 26, 2013, by defendant Husam

Elmasri (“Elmasri”). Elmasri also seeks a severance [Doc. 178] and/or a separate jury to hear his

case [Doc. 189]. Additionally, codefendant Jeffrey Hines (“Hines”) also seeks a severance [Doc.

184] asserting essentially the same arguments as Elmasri. The Court recommends denial of all

four motions. 1

       The subject Superseding Indictment sets out 19 counts generally alleging that 17

individuals (including Elmasri and Hines) conspired to traffic drugs and/or launder the proceeds

from the sale of the drugs [Doc. 157]. Elmasri is charged under Counts Eleven, Sixteen,

Seventeen, Eighteen, and Nineteen of the Superseding Indictment. Hines is charged in Counts

Eleven, Twelve, Seventeen and Eighteen. Elmasri’s motion to dismiss is directed to Count

Eleven. Count Eleven charges Elmasri and other defendants (as well as some unindicted

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                As the District Court is aware, the motions to sever and for a separate jury, being
non-dispositive, are typically not the subject of a Report and Recommendation. However, in this
particular case, the motions are so closely related to Elmasri’s motion to dismiss Count 11 that
consideration together will provide the most effective review.


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individuals) with conspiracy to violate 18 U.S.C. §§ 1956(a)(1), 1957. The former statute makes

it an offense to conduct and attempt to conduct financial transactions which in fact involve the

proceeds of specified unlawful activity (e.g., conspiracy to distribute controlled substances)

knowing that the property involved in the financial transactions represents the proceeds of some

form of unlawful activity and knowing that the transactions are designed in whole or in part:

       (i)     to conceal and disguise the nature, the location, the source, the
               ownership and control of the proceeds of specified unlawful activity;
               and

       (ii)    to avoid a transaction reporting requirement under State or Federal law.

18 U.S.C. § 1956(a)(1). The second charged statute, somewhat similarly, makes it a crime to

knowingly engage, attempt to engage, and cause each other and others to engage, in monetary

transactions involving criminally derived property of a value greater than $10,000 and which is

derived from specified unlawful activity (e.g., conspiracy to distribute controlled substances). 18

U.S.C. § 1957. With regard to this alleged money laundering conspiracy, the Superseding

Indictment identifies eight purported overt acts. However, only four involve Elmasri, to wit:

       (1)     On or about August 14, 2009, Elmasri sold a 2007 Mercedes Benz
               for $15,000 to an unindicted individual, and titled the vehicle in
               the name of “Mr. Tracy Mason,”

       (2)     On or about October 14, 2009, Elmasri, Hines, and two other
               defendants purchased a 2005 Bentley for $19,700 and titled the
               vehicle in the name of “J&J Investors,”

       (3)     On or about August 10, 2010, Elmasri, Hines, and another
               defendant purchased a Lincoln MKZ for $9,000 in U.S. currency
               and titled the vehicle in the name of “Duane’s Complete Auto
               Care,”

       (4)     On or about March 12, 2012, Elmasri and two other defendants
               purchased a 2007 Infiniti M25X for $24,099 and titled the car in
               the name of defendant Julie Borgman.




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Two other overt acts involve Hines but do not involve Elmasri, to wit:

       (1)     On or about July 3, 2008 Hines and two other defendants used
               $35,000 in U.S. currency to purchase 4304 Bellefontaine, Kansas
               City, Missouri and titled it in an uncharged accomplice’s name
               even though the uncharged accomplice never saw the residence.

       (2)     On or between January 27, 2009 and February 13, 2009, Hines and
               another defendant used $40,354.39 in U.S. currency to purchase
               6134 Yecker Street, Kansas City, Kansas, and titled it in the name
               of J&J Investors.

In seeking a dismissal of Count Eleven, Elmasri asserts that the government “is attempting to tie

together into one purported ‘conspiracy’ what were essentially separate matters.”

       It is well-settled that “[a]n indictment is sufficient if it: (1) contains the elements of the

charged offense and fairly informs the defendant of the charge against which he must defend;

and (2) enables him to plead double jeopardy as a bar to further prosecution.” United States v.

Diaz–Diaz, 135 F.3d 572, 575-76 (8th Cir. 1998). Applying this standard to Count Eleven, the

Court finds that Count Eleven contains the elements of offenses under 18 U.S.C. §§ 1956(a)(1),

1857, fairly informs Elmasri of the charges against which he must defend, and enables Elmasri to

plead double jeopardy as a bar in future criminal prosecutions. Compare U.S. v. Busto-Magaran,

2011 WL 2580112, op. at 2 (D.Minn. May 27, 2011) (“The fact that [the defendant] believes the

alleged acts would have been more appropriately charged as multiple conspiracies does not mean

[the defendant] has not been properly informed of the charges against him.”). 2




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               The Court does not address the issue of any potential variance. A variance occurs
when the evidence at trial proves facts other than those alleged in the indictment. United States
v. Morales, 113 F.3d 116, 119 (8th Cir. 1997). Accordingly, a variance issue may arise when a
single conspiracy is alleged in the indictment, but the proof at trial establishes multiple
conspiracies. United States v. Jones, 880 F.2d 55, 66 (8th Cir. 1989). After a trial, courts
determine whether multiple conspiracies existed by applying a totality-of-the-circumstances
                                                  3

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        In reaching this conclusion, the Court would note that a single overall conspiracy “can be

made up of a number of separate transactions and of a number of groups involved in separate

crimes or acts.” United States v. Roach, 164 F.3d 403, 412 (8th Cir. 1996). Even in a “wheel”

conspiracy such as that seemingly set out in the Superseding Indictment, it is only necessary to

show “some interaction between those conspirators who form the spokes of the wheel as to at

least one common illegal object.” United States v. Rosnow, 977 F.2d 399, 405 (8th Cir. 1992)

(quoting United States v. Levine, 546 F.2d 658, 663 (5th Cir. 1977)). As such:

                [T]o prove a single conspiracy it is not necessary to show that all
                the conspirators were involved in each transaction or that all the
                conspirators even knew each other. A single conspiracy may be
                found when the defendants share a common overall goal. . . . It is
                sufficient that the jury finds the co-conspirators were aware of the
                general nature and scope of the conspiracy and knowingly joined
                in the overall scheme.

United States v. Pullman, 187 F.3d 816, 821 (8th Cir. 1999) (citations omitted). The Court

recommends denial of Elmasri’s motion to dismiss Count Eleven of the Superseding Indictment.

        Elmasri and Hines also seek to have the charges asserted against each of them severed

from each other and the remaining defendants. Additionally Elmasri requests to have his charges

considered by a separate jury. The United States Supreme Court expressed a preference in favor

of joint trials of defendants who are indicted together, noting that “[j]oint trials play a vital role

in the criminal justice system” and that joint trials “promote efficiency and serve the interests of

justice by avoiding the scandal and inequity of inconsistent verdicts.” Zafiro v. United States,

506 U.S. 534 537 (1993). To overcome this preference, a court must engage in a two-step

process. First, the court must determine if joinder is proper under FED. R. CRIM. P. 8(b), and then




analysis and viewing the evidence in the light most favorable to the jury’s verdict. United States
v. Cabbell, 35 F.3d 1255, 1262 (8th Cir. 1994).
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whether severance is proper under FED. R. CRIM. P. 14. United States v. Payton, 636 F.3d 1027,

1037 (8th Cir. 2011).

       Under Rule 8(b), “mere similarity of offenses committed by two or more individuals is

not a sufficient predicate for joinder; [instead]. . . . Rule 8(b) requires that there be some

common activity involving all of the defendants which embraces all the charged offenses even

though every defendant need not have participated in or be charged with each offense.” United

States v. Bledsoe, 674 F.2d 647, 656 (8th Cir. 1982). The Eight Circuit has noted that “[t]he

prerequisites for joinder are liberally construed in favor of joinder.” United States v. Riell, 21

F.3d 281, 288 (8th Cr. 1994). Reviewing the allegations set forth in the Superseding Indictment

alleging that Elmasri and Hines conspired with other defendants, 3 the Court finds that the claims

asserted against Elmasri and Hines are not misjoined.

       Next, the Court must determine whether severance under Rule 14 should be granted. The

rule provides:

                 If the joinder of offenses or defendants in an indictment . . .
                 appears to prejudice a defendant . . . the court may order separate
                 trials of counts, sever the defendants’ trials, or provide any other
                 relief that justice requires.

FED. R. CRIM. P. 14(a). A court will permit severance only upon a showing of “real prejudice to

an individual defendant.” United States v. Payton, 636 F.3d 1027 1037 (8th Cir. 2011). To that

end:

                 Prejudice to the defendant must be both ‘real’ and ‘clear’. . . . To
                 satisfy the real prejudice standard, a defendant may show that his
                 defense is irreconcilable with the defense of his codefendant or that
                 the jury will be unable to compartmentalize the evidence as it
                 relates to separate defendants. . . . The defendant carries a heavy
                 burden in making this showing.

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               The law in the Eighth Circuit is that “[a]n indictment must reveal on its face a
proper basis for joinder.” United States v. Wadena, 152 F.3d 831, 848 (8th Cir. 1998)
                                                   5

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Id. (citations and internal quotation marks omitted).

        In essence, Elmasri and Hines each argue in their respective motions that severance in

this case is required because – based on the allegations in the Superseding Indictment – each was

only an active participant in one aspect (or spoke) of the wheel conspiracy and much of the

evidence involving alleged overt acts do not involve either of them. However, the Eighth Circuit

has found that mere minor participation in an alleged conspiracy is insufficient to justify

severance. United States v. Spotted Elk, 548 F.3d 641, 658 (8th Cir. 2008); United States v.

Willis, 940 F.3d 1136, 1139 (8th Cir. 1991). Likewise, the Eighth Circuit has concluded that

“[s]everance is not required merely because evidence that is admissible only against some

defendants may be damaging to others.” Payton, 636 F.3d at 1037. Ultimately, “it will be the

rare case, if ever, where a district court should sever the trial of alleged coconspirators.” United

States v. Frazier, 280 F.3d 835, 844 (8th Cir. 2002). This is not that rare case.

        For similar reasons, the Court also denies Elmasri’s request to have his charges heard by

a different jury even if the claims are not severed. Such an extraordinary procedure is

unwarranted in this case.

        Accordingly, it is

        RECOMMENDED that the District Court, after making an independent review of the

record and applicable law, enter an order DENYING Elmasri’s motion to dismiss [Doc. 187]

filed on June 26, 2013, as well as his motion for severance [Doc. 178] filed on June 5, 2013, and

his alternative motion for a separate jury to hear his case [Doc. 189] filed on July 3, 2013.

Likewise, it is further




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        RECOMMENDED that the District Court, after making an independent review of the

record and applicable law, enter an order DENYING Hines’ motion to sever [Doc. 184] filed on

June 17, 2013.

        Counsel are reminded that each has 14 days from the date of receipt of a copy of this

report and recommendation to file and serve specific objections to the same. A failure to file and

serve timely objections shall bar attack on appeal of the factual findings in this report which are

accepted or adopted by the district judge except upon the ground of plain error or manifest

injustice.


                                                        /s/ John T. Maughmer              ,
                                                    John T. Maughmer
                                                United States Magistrate Judge




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